UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO

                                     :
UNITED STATES OF AMERICA,            :           CASE NO. 1:23-mc-00037
                                     :
        Petitioner,                  :                  OPINION & ORDER
                                     :                  [Resolving Docs. 1, 17, 18]
v.                                   :
                                     :
EATON CORPORATION,                   :
                                     :
        Respondent.                  :
                                     :

JAMES S. GWIN, UNITED STATES DISTRICT COURT JUDGE:

       In this case, the government petitions the Court to enforce an Internal Revenue Service

(IRS) administrative summons issued to Respondent Eaton Corporation. The Court referred

the government’s petition to a Magistrate Judge for a report and recommendation (R&R).

       Before the Magistrate Judge issued his R&R, the parties reached an agreement over

many of the summonsed documents. After reaching this agreement, only a single dispute

remained: whether Eaton needed to produce certain foreign employees’ performance

evaluations.

       Respondent Eaton argues that the government has not satisfied its IRS summons

enforcement burden as to those foreign employees’ performance evaluations. And according

to Eaton, even if the government had met its burden, the European Union’s (EU) privacy

law—the General Data Protection Regulation (GDPR)—prohibits Eaton from producing those

performance evaluations to the IRS. So, Eaton says, comity requires the Court to not enforce

the IRS summons as to those evaluations.

       The Magistrate Judge agreed with Eaton and recommended that the Court deny the

government’s petition. The government timely filed objections.
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           Because the government has met its burden to enforce the IRS summons and neither

the GDPR nor comity prevent enforcement, the Court SUSTAINS the government’s

objections, REJECTS the R&R, and ENFORCES the IRS administrative summons as to the

foreign employees’ performance evaluations.

                                                 I.     BACKGROUND

           The IRS is conducting a federal income tax audit for the 2017–19 tax years. The tax

audit centers on whether Respondent Eaton violated transfer pricing rules after Eaton

assigned certain intellectual property rights to Eaton’s Irish affiliate. Specifically, the IRS is

investigating whether, after it transferred ownership rights to its Irish affiliate, Eaton

improperly lowered its United States tax burden by paying inflated royalties to its Irish

affiliate for the right to use the intellectual property.

           To understand why transfer pricing can be a concern, consider what happens when

a U.S. company purchases supplies from foreign company.                        By spending money on

purchasing supplies, the U.S. company incurs costs. Those costs are deductible,1 so the costs

reduce the U.S. company’s taxable income. By the same token, the money that the foreign

company receives for those supplies is taxable income, so the foreign company’s tax burden

increases.

           There is nothing concerning about such a business transaction when the transaction

runs between two independent companies and is negotiated at arm’s length. But there is

abuse potential when a company internally transfers assets between its U.S. and foreign

affiliates. Especially when the foreign affiliate operates in a jurisdiction with lower corporate

tax rates.


1
    Eaton Corp. & Subsidiaries v. Comm'r, 47 F.4th 434, 437 (6th Cir. 2022).
                                                            -2-
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           Because the two affiliates are formally separate entities that pay taxes to different

governments, the two affiliates must separately account for their profits and losses.

           For example, if the U.S. affiliate pays royalties to use the foreign affiliate’s intellectual

property, those royalties are accounted for as costs to the U.S. affiliate (reducing tax burden)

and profit to the foreign affiliate (increasing tax burden).            Transfer price refers to this

intracompany accounting.

           However, the U.S. and foreign affiliate operate under the same corporate umbrella,

so the profits and losses incurred by transferring assets between the two affiliates do not affect

the parent company’s bottom line. To save taxes for the parent company, the two affiliates

could inflate transfer pricing to artificially reduce taxable income in high-tax countries while

artificially increasing taxable income in low-tax countries.

           Driven by these concerns, Congress enacted I.R.C. § 482.2                  Along with its

implementing regulations, § 482 gives the IRS authority to adjust transfer price to what a

“counterfactual arm’s-length transaction ‘with an uncontrolled taxpayer’” would have

yielded.3

           In seeking to determine the hypothetical transfer price that an arm’s length negotiation

between Eaton and its Irish affiliate would have yielded, the IRS served administrative

summons on Eaton. The summons requested employee performance evaluations from

certain domestic and foreign Eaton employees.

           The IRS says that these performance evaluations will allow it to assess how much

domestic employees contributed to the intellectual property at issue as compared to how



2
    Eaton Corp. & Subsidiaries, 47 F.4th at 437.
3
    Id. (quoting Treas. Reg. § 1.482-1(b)(1)).
                                                   -3-
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much foreign employees contributed.4 This, the IRS says, will allow it to determine the

appropriate way to allocate that intellectual property’s value between Eaton and Eaton’s Irish

affiliate for transfer pricing purposes.

         Eaton did not comply with the IRS’s summons, so the government filed a petition to

enforce the summons.5 This Court referred the government’s petition to a Magistrate Judge

for an R&R.6 While the referral was pending, the parties settled regarding domestic employee

performance evaluations.7

         But the parties continued to disagree on whether Eaton needed to produce foreign

employee performance evaluations.

         The parties briefed this issue to the Magistrate Judge.8 The Magistrate Judge then

issued an R&R recommending that the Court deny the government’s enforcement petition as

to Eaton’s foreign employee performance evaluations.9 The government timely objected,10

and the parties fully briefed the government’s objections.11

                                           II.   DISCUSSION

         Respondent Eaton makes two arguments against enforcing the IRS summons. First,

Eaton says that the government has failed to meet its burden for enforcing the IRS summons.

Second, Eaton says that even if the government met its burden, the Court should not enforce

the summons under comity principles because EU privacy law (the GDPR) prohibits Eaton




4
  Doc. 13-1 at ¶ 10.
5
  Doc. 1.
6
  Doc. 2.
7
  Docs. 9, 11.
8
  Docs. 12, 13, 16.
9
  Doc. 17.
10
   Doc. 18.
11
   Docs. 19, 20-1.
                                                  -4-
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from sending employee performance evaluations to the United States. Neither argument

succeeds.

     A. IRS Summons Enforcement

         Congress has granted the IRS “expansive information-gathering authority” to

determine if taxes have been properly paid.12 Consistent with this information-gathering

authority’s expansiveness, the government must satisfy only a minimal burden before it can

enforce an IRS summons.

         Specifically, the government need only make a prima facie case showing “[1] that the

investigation will be conducted pursuant to a legitimate purpose, [2] that the inquiry may be

relevant to the purpose, [3] that the information sought is not already within the [IRS]

Commissioner's possession, and [4] that the administrative steps required by the Code have

been followed.”13

         The required prima facie showing is not very demanding.14 Often, the government

can make the necessary showing by simply submitting an affidavit from the IRS agent who

issued the administrative summons.15

         Once the government makes its prima facie showing, the burden shifts to the

responding party. At this point, the responding party must show that enforcing the summons

would be an “abuse of the court’s process” in order to defeat enforcement.16 In contrast to

the government’s light burden, the responding party’s burden is “a heavy one.”17


12
   Byers v. U.S. Internal Revenue Serv., 963 F.3d 548, 552 (6th Cir. 2020) (quoting United States v. Arthur Young & Co.,
465 U.S. 805, 816 (1984)).
13
   Id. (quoting United States v. Powell, 379 U.S. 48, 57–58 (1964)) (numberings added; other alterations in original).
14
   Id. (“[T]his prima-facie burden ‘isn’t much of a hurdle.’”) (quoting 2121 Arlington Heights Corp. v. I.R.S., 109 F.3d 1221,
1224 (7th Cir. 1997)).
15
   United States v. Monumental Life Ins. Co., 440 F.3d 729, 733 (6th Cir. 2006); Kondik v. United States, 81 F.3d 655, 656
(6th Cir. 1996); United States v. Will, 671 F.2d 963, 966 (6th Cir. 1982).
16
   Kondik, 81 F.3d at 656 (citation omitted).
17
   Id. (citing United States v. LaSalle Nat’l Bank, 437 U.S. 298, 316 (1978)).
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                1. Prima Facie Case

           Respondent Eaton focuses its challenge solely on the prima facie case’s relevance

element. Eaton argues that the summonsed foreign employee performance evaluations are

not relevant enough to the IRS’s transfer pricing investigation to justify enforcing the IRS

summons. The Magistrate Judge agreed. But in reaching that conclusion, the Magistrate

Judge placed too high a burden on the government.

           The Magistrate Judge applied a heightened relevance standard to the IRS’s summons

because the summons involved employee personnel records.18                           The Magistrate Judge

required this heightened relevance standard in reliance upon a district court’s decision in a

previous IRS summons dispute between Eaton and the government—Eaton I.19

           In Eaton I, Respondent Eaton argued that federal law requires a “compelling showing

of relevance” before courts can order personnel records to be produced.20 The Eaton I court

accepted that argument, denying the IRS’s request for employee performance evaluations

because the IRS failed to “persuasively demonstrate[] the relevance of [an employee]’s

performance evaluations.”21

           The Court disagrees with Eaton I. To justify the higher relevance standard, Eaton I

cited to a non-binding district court case involving civil discovery.22 And in defending the

Eaton I standard, Respondent Eaton similarly relies on cases about civil discovery.23




18
     Doc. 17 at 5–9.
19
   United States v. Eaton Corp., Nos. 12-mc-24, 12-mc-25, 12-mc-26, 12-mc-27, 2012 WL 3486910 (N.D. Ohio Aug. 15,
2012) (“Eaton I”).
20
   Id. at *13.
21
   Id. at *14.
22
   Id. at *13 (citing Miller v. Fed. Express Corp., 186 F.R.D. 376, 384–85 (W.D. Tenn. 1999)).
23
   Doc. 19 at 5–6 (collecting cases).
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            Civil discovery, though, operates under a different framework than IRS summons

enforcement actions.                Congress has not provided the same “expansive” investigative

authority to civil litigants that Congress gave to the IRS.

            Civil litigants can only seek discovery that “is relevant . . . and proportional to the

needs of the case.”24 Put differently, civil discovery weighs relevance against burden. By

contrast, the IRS’s summons authority is much broader.

            For one, the IRS summons standard does not require a court to weigh relevance

against burden. In fact, the Supreme Court has rejected a requirement that “the IRS must

conduct its investigations in the least intrusive way possible.”25

            The IRS summons relevance standard is also less demanding than the civil discovery

relevance standard. I.R.C. § 7602, which creates the IRS’s summons authority, allows the

IRS to request any documents that “may be relevant” to the IRS’s investigation.26 This means

that “even potential relevance to an ongoing [IRS] investigation” justifies an IRS summons.27

Put differently, the IRS “should not be required to establish that the documents it seeks are

actually relevant in any technical, evidentiary sense.”28

            Given that IRS summons authority is broader than civil discovery, there is little reason

to import civil discovery limitations into the IRS summons context. In fact, the opposite is

true: courts should avoid bringing civil discovery limitations into IRS summons enforcement

actions.         That is because, “[w]hile § 7602 is subject to the traditional privileges and




24
     Fed. R. Civ. P. 26(b)(1).
25
     Tiffany Fine Arts, Inc. v. United States, 469 U.S. 310, 323 (1985).
26
   I.R.C. § 7602(a)(1) (emphasis added).
27
   Arthur Young, 465 U.S. at 814.
28
     Id.
                                                              -7-
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limitations, any other restrictions upon the IRS summons power should be avoided absent

unambiguous directions from Congress.”29

           The Court is not aware of any an unambiguous Congressional instruction protecting

employee personnel records from IRS summons, nor has Eaton pointed to one. And at least

one court has explicitly rejected the argument that employee privacy concerns defeat an IRS

summons.30

           As that court observed, “IRS investigations ‘unquestionably involve some invasion of

privacy.’”31 The IRS regularly handles sensitive and private taxpayer financial information.

It would be strange to carve out employee personnel records for greater protection from IRS

summons authority while allowing equally (or more) sensitive financial records to be

requested under the usual low IRS summons relevance bar.

           Applying the correct “may be relevant” standard, the Court finds that the government

has made a prima facie relevance showing.

           Through an IRS agent declaration, the government explained that, according to

multiple Eaton employee interviews, Eaton’s employee performance evaluations are likely

to contain information about employees’ work on the intellectual property at issue in this

IRS investigation.32 Specifically, the performance evaluations might quantify how much an

employee matured a technology, track technology project milestones, or document how

successfully an employee completed her projects.33




29
   Arthur Young, 465 U.S. at 816 (internal quotation marks and citations omitted).
30
   2121 Arlington Heights, 109 F.3d at 1225.
31
   Id. (quoting United States v. Bisceglia, 420 U.S. 141, 146 (1975)).
32
     Doc. 13-1 at ¶¶ 5–9.
33
     Id.
                                                          -8-
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         The IRS agent said that this type of information could show how much control Eaton

maintained over its intellectual property even after that intellectual property was transferred

to Eaton’s Irish affiliate.34 In turn, information about Eaton’s control level over the transferred

intellectual property could help the IRS determine how much of that intellectual property’s

value should be attributed to Eaton.

         The government did not need to establish relevance with any particular certainty. The

government needed only to show that the performance evaluations sought might be relevant.

The IRS’s reasons for requesting those evaluations, backed by interviews, are enough to make

out the necessary prima facie case.35

              2. Burden Shifting

         Respondent Eaton’s two counterarguments against enforcement also do not meet

Eaton’s heavy burden to show an abuse of process.

         To begin, Eaton argues that its employee performance evaluations are not relevant to

the IRS’s transfer pricing investigation. To make this argument, Eaton relies on affidavits from

its Vice President of Tax. With those affidavits, Eaton’s Vice President points to evidence

suggesting that the requested performance evaluations do not contain the information that

the IRS seeks.36

         But Eaton’s burden is not simply to negate the government’s prima facie case.37 Eaton

must go further and show that there is an abuse of process. Perhaps a lack of relevance could


34
   Doc. 13-1 at ¶ 10.
35
   Respondent Eaton did not contest the other three prima facie elements, and the Court notes that the government satisfied
those elements through an IRS agent’s declaration. See Doc. 1-1.
36
   Doc. 16-1 at ¶¶ 6–7.
37
   Parties cannot offer opposing evidence to defeat a prima facie case. See Prima Facie Case, Black’s Law Dictionary (11th
ed. 2019) (noting that the prima facie standard tests whether the proponent of the prima facie case has “produc[ed] enough
evidence to allow the fact-trier to infer the fact at issue,” not whether the opposing party has rebutted the proponent’s
argument with the opposing party’s own evidence); cf. Cline v. Cath. Diocese of Toledo, 206 F.3d 651, 663 n.7 (6th Cir.
2000) (collecting cases holding that courts should not consider a defendant’s opposing evidence at the prima facie stage of
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support an abuse of process argument if the requested performance evaluations were so

obviously irrelevant that the IRS’s request would do nothing more than harass Eaton. That is

not the case here.

         At most, the competing IRS and Eaton declarations and affidavits show a legitimate

disagreement about what information the evaluations contain and their relevance. Because

§ 7602 authorizes the IRS to summons even potentially relevant documents,38 mere

disagreement does not show an abuse of process. If the IRS has a good faith belief in the

requested documents’ relevance, § 7602 expressly allows the IRS to summons those

documents even if the IRS’s belief ends up being misplaced. As the Court discussed above,

the government has met that low relevance bar.

         Eaton’s second counterargument fares no better. Eaton says that instead of producing

the requested employee performance evaluations, Eaton is willing to make those employees

available for interviews. Eaton suggests that the IRS’s refusal to take Eaton’s offer should

defeat the government’s enforcement action.

         Again, this argument is not enough to show an abuse of process. The IRS has

legitimate reasons to request the performance evaluations rather than employee interviews.

Employee interviews might not be as useful as the contemporaneous employee performance

evaluations because the employees’ memories might have faded. And the performance

evaluations might also help guide the IRS’s questions during later employee interviews.




a Title VII McDonnell Douglas analysis). Rather, parties must show that the government’s own affidavits and evidence are
insufficient to establish a prima facie case. Therefore, Eaton’s arguments based on Eaton’s own opposing evidence go
towards Eaton’s burden to show abuse of process, not towards the government’s prima facie burden.
38
   I.R.C. § 7602(a)(1) (the IRS can summons documents that “may be relevant” to the IRS’s investigation).
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            More fundamentally, the IRS does not need to conduct its investigation in the least

intrusive way.39 There is no abuse of process when the IRS turns down a potentially less

intrusive avenue for investigation.

            Perhaps if the IRS’s chosen investigative methods were significantly more intrusive

than reasonable alternatives, that fact might support an abuse of process finding. But that is

not the case here.

            In some ways, making employees available for interview is more intrusive than

producing the employees’ performance evaluations because such interviews distract the

employees from their job duties. And those distractions multiply if Eaton needs to take the

time to prepare the employees for interviews as well.

            Producing a small set of documents, on the other hand, would take less time and

would allow Eaton’s employees to continue working on their responsibilities.

            Respondent Eaton is effectively arguing that the IRS must follow Eaton’s preferred

investigatory methods. There is no authority justifying that stance.

                                           *     *      *

            The government has met its burden to show a prima facie case for enforcing the IRS

summons at issue here. And Eaton has failed to rebut that showing by demonstrating

enforcement would be an abuse of process. Therefore, the IRS can enforce its summons

against Eaton.




39
     Tiffany Fine Arts, 469 U.S. at 323.
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     B. Foreign Law Considerations

            Next, Eaton argues that whether the government has met its enforcement burden,

European privacy law blocks Eaton from producing the foreign employee performance

evaluations.

            However, “[f]oreign ‘blocking statutes’ do not ‘deprive an American court of the

power to order a party subject to its jurisdiction to produce evidence even though the act of

production may violate that statute.’”40

            Although foreign law may bar an American court from ordering a document

production, foreign law does so only when (1) producing the requested documents would

violate foreign law, and (2) comity analysis weighs in favor of denying the requested

documents.41 The party opposing production bears the burden of satisfying this two-part

test.42

               1. Foreign Privacy Law

            Respondent Eaton says that producing the foreign employee performance evaluations

would violate a European Union (EU) regulation known as the GDPR.43

            The GDPR is a comprehensive privacy regulation that protects European citizens’

personal data.        The GDPR’s scope is broad, covering “any information relating to an




40
   Owen v. Elastos Found., 343 F.R.D. 268, 282 (S.D.N.Y. 2023) (quoting Société Nationale Industrielle Aérospatiale v.
U.S. Dist. Ct. for S. Dist. of Iowa, 482 U.S. 522, 544 n.29 (1987)).
41
   Kashef v. BNP Paribas S.A., No. 16-cv-3228 (AKH) (JW), 2022 WL 1617489, at *2 (S.D.N.Y. May 23, 2022) (citations
omitted).
42
  Knight Cap. Partners Corp. v. Henkel Ag & Co., KGaA, 290 F. Supp. 3d 681, 689 (E.D. Mich. 2017) (citation omitted); In
re Air Crash at Taipei, Taiwan on Oct. 31, 2000, 211 F.R.D. 374, 377 (C.D. Cal. 2002) (quoting United States v. Vetco,
Inc., 691 F.2d 1281, 1288 (9th Cir. 1981)).
43
  The IRS requested performance evaluations for two Indian employees not covered by the GDPR. While Eaton says that
India recently passed a GDPR-like privacy law, that privacy law has not yet come into effect. So, Eaton must produce the
Indian employees’ performance evaluations because the government has met its enforcement burden.
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identified or identifiable natural person.”44 Employee performance evaluations are protected

personal data under the GDPR’s broad scope.

           As relevant in this case, the GDPR generally prevents companies from transferring

European citizens’ personal data outside of EU member states.45 This general prohibition on

transfer includes transfers to the United States.46

           So, unless a GDPR exception (known as a derogation) applies, Respondent Eaton

would be violating the GDPR by producing its foreign employee performance evaluations to

the IRS.

           Here, the GDPR Article 49(1)(d) derogation applies, which permits personal-data

transfers out of the EU when “the transfer is necessary for important reasons of public

interest.”47

           The European Data Protection Board has promulgated guidance regarding this

“important public interest derogation.”48 In its guidance, the Data Protection Board explains

that this derogation has two elements: (1) that the transfer is necessary or legally required,

and (2) that the transfer is based on important public interest grounds.49

           In this case, producing the foreign employee performance evaluations is legally

required because the government has satisfied its summons enforcement burden.

           The remaining issue is whether such production is based on an important public

interest. On this point, the Data Protection Board’s guidance makes clear that “only public


44
     In re Mercedes-Benz Emissions Litig., No. 16-cv-881 (KM) (ESK), 2020 WL 487288, at *1 (D.N.J. Jan. 30, 2020) (quoting
GDPR Art. 4(1)).
45
     Id.
46
     Id.
47
   GDPR Art. 49(1)(d).
48
    Eur. Data Prot. Bd., Guidelines 2/2018 on Derogations of Article 49 Under Regulation 2016/679 at 10–11,
https://www.edpb.europa.eu/sites/default/files/files/file1/edpb_guidelines_2_2018_derogations_en.pdf [hereinafter GDPR
Guidance].
49
   Id. at 10.
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interests recognized in [European] Union law or in the law of the Member State to which the

[personal data’s] controller is subject can lead to the application of this derogation.”50

         It is not enough that an EU member state and the country seeking the European

personal data share a common public interest in the abstract.51 For example, the fact that

both the United States and Ireland have an interest in accurately collecting taxes does not

support applying the public interest derogation.

         Rather, the public interest derogation applies only when “it can also be deduced from

EU law or the law of the member state to which the controller is subject that such data

transfers are allowed for important public interest purposes including in the spirit of

reciprocity for international cooperation.”52 “The existence of an international agreement or

convention which recognises a certain objective and provides for international cooperation

to foster that objective can be an indicator when assessing the existence of a public interest

. . . as long as the EU or the Member States are a party to that agreement or convention.”53

         Such an international convention exists between Ireland (the EU member state where

Eaton’s foreign affiliate is located) and the United States. Specifically, the two countries

signed a tax convention in 1997.54

         As the tax convention’s preamble indicates, the convention’s objective is “the

prevention of fiscal evasion with respect to taxes on income and capital gains.”55




50
   GDPR Guidance 10.
51
   Id.
52
   Id.
53
   Id.
54
   Convention Between the Government of the United States of America and the Government of Ireland for the Avoidance
of Double Taxation and the Prevention of Fiscal Evasion with Respect to Taxes on Income and Capital Gains, S. Treaty Doc.
No. 105-31, 1997 WL 602448 (July 28, 1997) (“U.S.-Ireland Tax Convention”).
55
   Id. at *4.
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Significantly, Article 7 offers principles for how business profits should be attributed between

affiliated U.S. and Irish entities,56 the crux of the IRS’s tax investigation in this case.

         Moreover, Article 27 expressly provides for cooperation and information sharing

between the United States and Ireland to achieve the tax convention’s purposes.57

         The U.S.-Ireland tax convention therefore satisfies the important public interest

derogation.        Eaton would not violate European law by producing foreign employee

performance evaluations, and Eaton must produce those evaluations.

              2. Comity Analysis

         Even if producing the foreign employee performance evaluations would violate the

GDPR, the comity analysis weighs in favor of enforcing the IRS summons. The comity

analysis requires the Court to weigh five factors:

              (1) the importance to the litigation of the documents or other
              information requested;

              (2) the degree of specificity of the request;

              (3) whether the information originated in the United States;

              (4) the availability of alternative means of securing the information; and

              (5) the extent to which noncompliance with the request would
              undermine important interests of the United States, or compliance with
              the request would undermine important interest of the state where the
              information is located.58

         Of these factors, balancing the relevant countries’ national interests is the most

important.59 So, the Court begins with the countries’ interests.


56
   U.S.-Ireland Tax Convention, 1997 WL 602448 at *9–10.
57
   Id. at *27–28.
58
   Société Nationale, 482 U.S. at 544 n.28 (citation omitted).
59
   In re Grand Jury Investigation of Possible Violations of 18 U.S.C. § 1956 & 50 U.S.C. § 1705, 381 F. Supp. 3d 37, 77
(D.D.C. 2019) (holding that “the interests of the relevant countries” is the “most important factor”), aff'd sub nom. In re
Sealed Case, 932 F.3d 915 (D.C. Cir. 2019); Richmark Corp. v. Timber Falling Consultants, 959 F.2d 1468, 1476 (9th Cir.
1992) (the “balance of national interests” is “the most important factor”); Inventus Power v. Shenzhen Ace Battery, 339
F.R.D. 487. 504 (N.D. Ill. 2021) (quoting Wultz v. Bank of China Ltd., 910 F. Supp. 2d 548, 558 (S.D.N.Y. 2012)).
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         The United States has a paramount interest in collecting taxes, including investigating

potential underpayment. That is because taxes and their collection are “the lifeblood of

government.”60 So, compared to civil discovery, “[IRS] summonses appear to serve a more

pressing national function.”61 And “[s]uch summonses are also more widely recognized in

the international community than the broad civil discovery permitted in American courts.”62

         Along those lines, Ireland has little interest in blocking the United States’ tax

investigation.        The U.S.-Ireland tax convention shows that Ireland has an interest in

cooperating with the United States to ensure that taxes are appropriately allocated between

the two countries.

         True, the GDPR suggests that Ireland has an interest in protecting its citizens’ private

information, such as the performance evaluations at issue here. But Ireland’s tax cooperation

interest outweighs Ireland’s privacy interest.

         As discussed above, the GDPR’s important public interest derogation allows

European entities to send personal data abroad to serve interests found in an EU member

state’s treaty.63      This shows that Ireland’s specific treaty-based interests trump Ireland’s

general privacy interest.

         Even if the public interest derogation did not formally apply, the derogation’s

existence suggests that Ireland’s treaty-based interests at least significantly mitigate Ireland’s




60
  G.M. Leasing Corp. v. United States, 429 U.S. 338, 350 (1977) (quoting Bull v. United States, 295 U.S. 247, 259 (1935));
see also Raleigh v. Illinois Dep’t of Revenue, 530 U.S. 15, 21 (2000) (the government has a “vital interest . . . in acquiring
its lifeblood, revenue”).
61
   Vetco, 691 F.2d at 1288.
62
   Id. (citations omitted).
63
   Supra Section II.B.1.
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privacy interest. So, the United States’ tax collection interest in this case would still be far

greater than Ireland’s countervailing privacy interests.64

        Therefore, the fifth factor—the countries’ interests—weighs strongly in favor of

enforcing the IRS summons.

        However, the first four factors mostly cancel each other out.

        The first factor weighs against enforcement because the performance evaluations are

not particularly important to the IRS’s investigation. Although the government has shown

that the evaluations may be relevant to the IRS investigation, that relevancy showing is weak.

        The second factor weighs in favor of enforcement because the IRS summons is

requesting a discrete and narrow document set. The IRS requested 43 total performance

evaluations over a three-year period.65             Because that number includes U.S. employee

evaluations, the number of European employee evaluations at issue here is even less.

        The third factor weighs against enforcement because the performance evaluations

were created in Europe, not in the United States.

        And the fourth factor weighs in favor of enforcement. Although Eaton offers employee

interviews as an alternative to producing performance evaluations, the Court explained

above that interviews are not a perfect substitute.66 And the parties have not identified any

other potential alternative to the performance evaluations.

        Because two of the first four comity factors weigh in favor of enforcement while two

weigh against, the first four factors are roughly are roughly neutral when taken together. At

best for Eaton, the four factors weigh slightly against enforcement.


64
   The government has also offered to allow Eaton to redact irrelevant but private information from the employee
performance evaluations. Doc. 18 at 11 n.6. This further reduces Ireland’s privacy interest in this case.
65
   Doc. 1-1 at PageID #: 9–12.
66
   Supra Section II.A.2.
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       But the fifth comity factor weighs strongly in favor of enforcement. Adding the fifth

(and most important) comity factor into the mix tilts the weighing towards enforcement.

       For these reasons, the comity analysis favors enforcing the IRS summons.

                                    III.   CONCLUSION

       The Court GRANTS the government’s petition to enforce the IRS summons. Because

the government has offered to allow Eaton to redact some irrelevant but private information

from the requested performance evaluations, the parties shall submit a stipulated protective

order to the Court within fourteen (14) days of this Order. The stipulated protective order

should specify the redaction scope and any other privacy limitations that the parties agree

are appropriate.    Eaton shall produce the requested foreign employee performance

evaluations to the IRS within fourteen (14) days after the Court enters the parties’ stipulated

protective order.

       IT IS SO ORDERED.


 Dated: May 16, 2024                            s/     James S. Gwin
                                                JAMES S. GWIN
                                                UNITED STATES DISTRICT JUDGE




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